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U.S. Department of Justice

United States Attorney
Southern District of New York

 

Via ECF

The Honorable P. Kevin Castel
United States District Judge
Southern District of New York
500 Pearl Street

New York, New York 10007

Re: United States vy. Geovanny Fuentes Ramirez, 86 15 Cr. 379 (PKC)

Dear Judge Castel:

Application Granted.

So Ordered: LO

Cc:

“Hon. P. Kevitv Castel, U.S.D.J.

4-23 3-1

Defense Counsel
(Via ECF)

 

The Silvio J. Mollo Building
One Saint Andrew's Plaza
New York, New York 10007

April 23, 2021

On March 22, 2021, following trial, Geovanny Fuentes Ramirez (the “defendant”) was
convicted of ali three counts in the above-referenced Indictment. On March 25, 2021, the Court
granted the defendant’s motion to extend the time within which to file any post-trial motions to
April 23, 2021. (See ECF No. 277). Today, on April 23
set aside the verdict or for a new trial. (See ECF No. 316).
until May 21, 2021 to file its response to the defendant’s po

-trial motions.
ot1ONs._

Respectfully submitted,

AUDREY STRAUSS
United States Attorney

By: = /s/

e defendant filed motions seeking to
he ‘lmotos requests

 

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